           Case 3:14-cv-00661-RCJ-WGC Document 346 Filed 07/08/20 Page 1 of 2



 1

 2

 3

 4

 5

 6
                                     UNITED STATES DISTRICT CCOURT
 7
                                             DISTRICT OF NEVADA
 8

 9
     JEREMY STROHMEYER,                              )   Case No.: 3:14-CV-00661-RCJ-WGC
10                                                   )
                                                     )   ORDER ADOPTING AND ACCEPTING
11                            Plaintiff,             )   REPORT AND RECOMMENDATION OF
                                                     )   UNITED STATES MAGISTRATE JUDGE
12   vs.                                             )   (ECF NO. 325)
                                                     )
13
     K. BELANGER, et al,                             )
                                                     )
14                      Defendants.                  )
                                                     )
15                                                   )
16

17          Before the Court is the Report and Recommendation of United States Magistrate Judge

18   William G. Cobb (ECF No. 325 1) entered on June 2, 2020, recommending that the Court deny
19
     Defendant Michael Bobadilla’s Motion for Dismissal (ECF No. 226). On June 8, 2020, in
20
     response to the Report and Recommendation, Plaintiff filed a Notice of Intent to Court of Factual
21

22
     and/or Typographical Mistakes in Court’s 6/2/20 Order (ECF no. 325) and Request for

23   Correction of Those Mistakes Pursuant to FRCP 60(a) (ECF No. 326).
24          This action was referred to Magistrate Judge Cobb under 28 U.S.C. § 636(b)(1)(B) and
25
     Local Rule IB 1-4 of the Rules of Practice of the United States District Court for the District of
26
     Nevada.
27

28          1   Refers to Court’s docket number.



                                                          1
          Case 3:14-cv-00661-RCJ-WGC Document 346 Filed 07/08/20 Page 2 of 2



 1          The Court has conducted its de novo review in this case, has fully considered the
 2
     pleadings and memoranda of the parties including the parties’ objections to the Report and
 3
     Recommendation and other relevant matters to 28 U.S.C. § 636(b)(1)(B) and Local Rule IB 3-2.
 4

 5
            IT IS HEREBY ORDERED that United States Magistrate Judge Cobb’s Report and

 6   Recommendation (ECF No. 325), is ADOPTED and ACCEPTED.
 7          IT IS FURTHER ORDERED that Defendant Michael Bobadilla’s Motion to Dismiss
 8
     (ECF No. 226) is DENIED.
 9
            IT IS SO ORDERED.
10

11                                                       Dated this 8th day of July, 2020.

12
                                                         ______________________________
13                                                       ROBERT C. JONES
                                                         United States District Judge
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                                        2
